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 7
                              UNITED STATES BANKRUPTCY COURT
 8
                 CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
 9

10   In re                                     Case No. 8:21-bk-10398-MW

11   MELISSA SHORES,                           Chapter 7

12             Debtor.                         TRUSTEE’S MOTION TO APPROVE
                                               COMPROMISE; MEMORANDUM OF
13                                             POINTS AND AUTHORITIES; AND
                                               DECLARATION OF RICHARD A.
14                                             MARSHACK IN SUPPORT THEREOF

15                                             Hearing
                                               Date: January 10, 2022
16                                             Time: 2:00 p.m.
                                               Crtm: 6C
17                                             Location: 411 West Fourth Street,
                                                         Santa Ana, CA 92701-4593
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 1 TO THE HONORABLE MARK S. WALLACE, UNITED STATES BANKRUPTCY JUDGE, THE

 2 OFFICE OF THE UNITED STATES TRUSTEE, AND ALL INTERESTED PARTIES:

 3             Richard A. Marshack, in his capacity as Chapter 7 Trustee (“Trustee”) of the Bankruptcy

 4 Estate (“Estate”) of Melissa Shores (“Debtor”), brings this motion (“Motion”) for entry of an order

 5 approving a compromise (“Agreement”)1 reached with and co-owner of property located at 9816

 6 Bradwell Avenue, Santa Fe Springs, California 90670 (“Property”), Joe Ortiz (“Defendant” and/or

 7 “Mr. Ortiz”), (collectively, “Plaintiff and/or “Trustee” and “Defendant” and/or “Mr. Ortiz” are

 8 referred to as the “Parties”), Plaintiff and Defendant may also be referred to herein individually as a

 9 “Party.” In support of the Motion, Trustee respectfully represents as follows:

10 1.          Summary of Motion
11             A trustee’s fiduciary duty includes liquidating all assets of the Estate for the benefit of

12 creditors. Moreover, a bankruptcy court can approve reasonable settlements and compromises of

13 claims. In this case, there is sufficient equity in the Property (as defined above) that can be realized

14 by Trustee for the benefit of creditors. However, a sale to a third party, considering costs of

15 administration - including litigation costs associated with a pending Complaint (as defined below)

16 concerning co-ownership of the Property and brokerage commissions and costs of sale - would likely

17 result in a benefit to creditors of approximately $57,000.

18             Instead, Trustee has reached an agreement with co-owner Mr. Ortiz which (i) allows Mr.

19 Ortiz to remain in his home in the midst of this pandemic time; (ii) avoids payment of brokerage

20 commissions and costs of sale; (iii) avoids increased administrative costs; and (iv) delays associated

21 with administration; and (v) avoids the risk of an adverse judgment where no distribution would be

22 made to creditors. Simply put, Trustee has negotiated the proposed compromise with Mr. Ortiz to

23 sell the Estate’s interest in the Property to Mr. Ortiz for $67,500.

24             Further there is a dispute between Mr. Ortiz and the Trustee as it relates to the Estate’s

25 interest in the Property. As set forth in the Complaint, it is the Estate’s position that because the (a)

26

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     1
         A copy of the Agreement is attached to the Declaration of Richard A. Marshack (“Marshack Declaration”)
28 as Exhibit 1.
                                                 1
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 1 Property is co-owned by Debtor and Mr. Ortiz, (b) partition in kind of the Property among the co-

 2 owners is impracticable; (c) sale of the Estate’s interest would realize significantly less for the Estate

 3 than a sale of the Property free and clear of the interests of Mr. Ortiz and any other alleged co-

 4 owner; and (d) the Property is not used in the production, transmission, or distribution, for sale, or

 5 electric energy or of natural or synthetic gas for heat, light, or power, that the Property may be sold –

 6 pursuant to 11 U.S.C. §363(h) - for the benefit of Debtor’s creditors. Mr. Ortiz disputes the Estate’s

 7 position. Specifically, it is Mr. Ortiz’s position that: (a) he owned the Property seven years prior to

 8 meeting Debtor; (b) Debtor was added on title solely for refinance purposes in March 2017; (c) at

 9 the time of the re-finance Debtor was given $20,000 to pay off her debts from these funds; (d)

10 Debtor moved out in 2019; and (e) Mr. Ortiz continued to pay the mortgage, property tax, insurance

11 and upkeep. Based on these facts, Mr. Ortiz asserts Debtor - and by extension the Estate – does not

12 hold any beneficial interest in the Property. In order to avoid further litigation and increased

13 administrative costs, Trustee and Mr. Ortiz have entered into the Agreement which Trustee submits

14 is in the best interest of the Estate, as it ensures a meaningful distribution to unsecured creditors.

15 This Court must decide whether to approve the Agreement.

16 2.       Statement of Facts
17          A. Procedural Background
18          On or about March 31, 2017, Debtor and Mr. Ortiz each acquired an undivided interest in

19 certain real property located at 9816 Bradwell Avenue, Santa Fe Springs, California 90670

20 (“Property”). Title to the Property was/is held in the name of Debtor and Mr. Ortiz as joint tenants

21 pursuant to a Grant Deed recorded on April 17, 2017, in the Los Angeles County Recorder’s Office

22 as instrument no. 20170415708 (“Grant Deed”). A true and correct copy of the Grant Deed is

23 attached to the Declaration of Richard A. Marshack (“Marshack Dec.”)

24          On February 17, 2021, Debtor filed a voluntary petition for relief under Chapter 7 of Title 11

25 the United States Code, commencing Case No. 8:21-bk-10398-MW.

26          As set forth in Debtor’s Amended Schedule C, she has claimed an exemption in the Property

27 in the amount of $12,620.44 pursuant to C.C.P. § 703.140(b)(5). See, Dk. No. 28.

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 1            As set forth in Debtor’s Schedule D, the Property is subject to a deed of trust held by Wells

 2 Fargo Home Mortgage securing a claim in the amount of $320,392.51.

 3            After consultations with his agents, Trustee believed the Property was worth at least

 4 $575,000-$600,000.

 5            Based on the above facts, Trustee believed there was equity in the Property that could be

 6 administrated for the benefit of unsecured creditors.

 7            Accordingly, on June 9, 2021, Trustee filed a Complaint against Defendant and other

 8 interested parties for: (1) Sale of Co-Owned Real Property [11 U.S.C. § 363(H)]; and (2) Turnover

 9 of Real Property [11 U.S.C. § 542(a)] (“Complaint”).

10            On June 10, 2021, Mr. Ortiz along with other interested parties were served with the

11 Complaint.

12            B. The Trustee’s valuation of the Property and subsequent analysis
13            Trustee believes that the fair market value of the Property is between $575,000-$600,000.

14 Given the equity in the Property, as noted in the chart below, the Trustee believes that liquidation of

15 the Property would generate a distribution to the Estate’s creditors.

16                    Property Value                                                  $587,5002
17                                                                                 $341,433.993
                      Mortgage
                                                                                     $12,620.44
18                    Claimed Exemption
                                                                                        $47,000
19                    Cost of Sale (8%)
                                                                                    $186,445.57
                      Equity in Property
20                                                                                   $31,993.95
                      Trustee’s Compensation under §326
21                                                                                       $5,000
                      Estimated Accountant’s Fees
22                                                                                      $35,000
                      Estimated Attorneys’ Fees (including
23                    prosecution of Complaint)
                                                                                    $114,451.62
                      Net To Be Split Between Mr. Ortiz and Estate
24

25                                                                                   $57,225.81
                      Net To Creditors of the Estate
26

27
     2
         Using average between $575,000 and $600,00 estimated FMV.
28   3
         Amount is as of June 2021 with daily interest accruing at $40.6000 a day.
                                                         3
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 1          Subject to Court approval, Mr. Ortiz has offered to purchase the Estate’s interest in the

 2 Property for a lump sum payment of $67,500 (“Purchase Price”). Under the Agreement, the Trustee

 3 increases the proceeds to the Estate from a sale of the Property by minimizing the fees and costs

 4 associated with liquidating the Property, avoids further accrual of interests on the Mortgage pending

 5 sale efforts, avoids continued litigation of the Complaint and a potential adverse judgment which

 6 would result in no recovery, and avoids delay in the administration of the Estate. See Marshack

 7 Decl., ¶14. As such, the Purchase Price is in the best interest of the Estate and will maximize the

 8 value of the equity in the Property for the benefit of creditors. Id., ¶17.

 9          C. Summary of Agreement
10         THIS IS A SUMMARY ONLY AND DOES NOT CONSTITUTE PART OF AN

11 AGREEMENT BETWEEEN THE PARTIES. THE SALE TO THE DEBTOR WILL BE IN

12 ACCORDANCE WITH THE TERMS OF THE AGREEMENT. The key terms of the Agreement

13 are summarized as follows:

14                  2.1    Approval of Agreement. This Agreement is subject to the approval of

15          the United States Bankruptcy Court for the Central District of California (Santa Ana

16          Division) (“Bankruptcy Court”) in the Bankruptcy Case, and the Bankruptcy Court

17          authorizing the Trustee to take any and all actions necessary hereunder. The Parties

18          agree to cooperate and make all reasonable efforts to obtain Bankruptcy Court

19          approval. Within ten (10) court days of the Effective Date, the Trustee shall move the

20          Bankruptcy Court for approval of this Agreement pursuant to FRBP 9019

21          (“Compromise Motion”).

22                  2.2    Settlement Payment. As consideration specified in this Agreement,

23          Trustee and Defendant have agreed to settle the disputes between for a total amount

24          of $67,500 (“Settlement Amount”). Specifically, Trustee seeks to sell and Mr. Ortiz

25          seeks to purchase the Estate’s interest in the Property which will resolve the

26          Complaint that seeks turnover of the Property for sale. Payment of the Settlement

27          Amount shall be made payable to the Trustee in the form of a check or cashier’s

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 1          check payable to “Richard A. Marshack, Chapter 7 Trustee for the Bankruptcy Estate

 2          of Melissa Shores.” Trustee is informed that the source of the Settlement Amount is a

 3          loan secured by the Property (i.e. potential refinance). As such, this Agreement is

 4          contingent upon the loan funding the Settlement Amount to the Trustee for which an

 5          escrow will be opened. This Agreement shall have no effect if the Settlement Amount

 6          is not paid to the Trustee.

 7                  2.3    Costs of Sale. Mr Ortiz shall be responsible for any and all recording

 8          costs and documentary transfer tax. The Estate shall be responsible for any income

 9          tax and capital gain tax incurred because of the sale. Each Party shall bear their own

10          attorneys’ fees and costs;

11                  2.4    Execution of Additional Documents. The Parties agree that they will

12          execute any and all further and additional documents and take all further and

13          additional steps, which may be necessary or convenient to consummate the terms of

14          this Agreement and accomplish the purposes thereof, including but not limited to

15          executing any documents necessary to facilitate a re-finance of the Property;

16                  2.5    Transfer of Title. Trustee shall deliver, in trust, to escrow a quitclaim

17          deed (“Deed”) which conveys to Mr. Ortiz all of the Estate’s right, title, and interest

18          in the Property. Upon Trustee’s timely receipt of the full Purchase Price, the Deed

19          shall be recorded. Title shall not pass unless and until the full Settlement Price is

20          timely received by the Trustee, and Mr. Ortiz is not otherwise in default of.

21 See Marshack Decl., Ex. 1, pg. 16.

22 3.       Legal Discussion
23          A. Legal Authority to Approve Sale
24          A Trustee is empowered to sell assets of the estate “after notice and a hearing.” See

25 11 U.S.C. § 363. The standards for approval of a sale pursuant to § 363(b)(1) require that the

26 proponent of the sale establish that: (1) a “sound business purpose justifies the sale;” (2) “accurate

27 and reasonable notice” of the sale was provided; (3) the “price to be paid is adequate, i.e., fair and

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 1 reasonable”; and (4) “good faith, i.e., the absence of any lucrative deals with insiders, is present.”

 2 See In re Industrial Valley Refrig. & Air Cond. Supplies, Inc., 77 B.R. 15, 21 (Bankr. E.D.Pa. 1987).

 3 The Trustee’s proposed sale of the equity in the Property conforms with each of these requirements.

 4          i. Sound Business Justification
 5          The Ninth Circuit in In re Walter, 83 B.R. 14 (B.A.P. 9th Cir.1988) has adopted a flexible,

 6 case by case test to determine whether the business purpose for a proposed sale justifies disposition

 7 of property of the estate under §363(b). The Court in In re Continental Airlines, Inc. explained the

 8 Walter test:

 9
            Whether the proffered business justification is sufficient depends on the case. As the
10          Second Circuit held in Lionel, the bankruptcy judge should consider all salient factors
            pertaining to the proceeding and, accordingly, act to further the diverse interests of
11          the debtor, creditors and equity holders, alike. He might, for example, look to such
            relevant factors as the proportionate value of the assets to the estate as a whole, the
12          amount of lapsed time since the filing, the likelihood that a plan of reorganization will
            be proposed and confirmed in the near future, the effect of the proposed disposition
13          on future plans of reorganization, the proceeds to be obtained from the disposition
            vis-à-vis any appraisals of the property, which of the alternatives of use, sale or lease
14          the proposal envisions and, most importantly perhaps, whether the asset is increasing
            or decreasing in value. This list is not intended to be exclusive, but merely to provide
15          guidance to the bankruptcy judge.

16 Walter, supra, at 19-20 quoting, In re Continental Air Lines, Inc., 780 F.2d 1223 (5th Cir. 1986).

17          In this case, the facts surrounding the sale support the Trustee’s business decision to sell the

18 equity in the Property. The equity sale will net $67,500, which is sufficient to pay all allowed

19 administrative expenses and to make a meaningful distribution to unsecured creditors. See Marshack

20 Decl., ¶15. The proposed sale of the Estate’s interest in the equity in the Property through the

21 Agreement is a sound business decision because it minimizes the fees and costs associated with

22 liquidating the Property, avoids further accrual of interests on the Mortgage pending sale efforts and

23 delay in the administration of the Estate, avoids continued prosecution of the Complaint, and will

24 generate significant cash proceeds for the Estate. Id., ¶16. For the foregoing reasons, the Trustee, in

25 his business judgment, believes the proposed Agreement is in the best interests of the Estate and

26 unsecured creditors. Id., ¶17.

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 1          ii. Accurate and Reasonable Notice
 2          The Trustee must give notice of any sale of property of the Estate. 11 U.S.C. § 363(b)(1). In

 3 the instant matter, the Trustee will give notice to all known creditors, all parties to leases, and any

 4 other prospective buyers. The Trustee respectfully suggests that the service of the Motion is

 5 appropriate and constitutes adequate and reasonable notice of the sale of the Property and the

 6 Agreement.

 7         iii. Adequate Price
 8          The Purchase Price is designed to maximize the value of the Estate’s interest in the Property

 9 while minimizing expenses. See Marshack Decl., ¶¶19, 22. The Trustee believes that the Purchase

10 Price is sufficient to make meaningful pro rata distributions to general unsecured creditors and, at the

11 same time, minimizes the fees and costs associated with liquidation of the Property. ¶18. Based on

12 the estimated value of the Estate’s interest in the Property, and the above, the Trustee believes that

13 the Purchase Price for the Estate’s interest in the Property is fair and reasonable. Id.

14         iv. Good Faith
15          “Good faith encompasses fair value, and further speaks to the integrity of the transaction.” In

16 re Wilde Horse Enterprises, Inc., 136 B.R. 830, 842 (Bankr. C.D. Cal. 1991) (internal quotation

17 marks omitted). Bad faith includes collusion between buyer and seller or otherwise taking unfair

18 advantage of other potential purchasers, such as a collusive insider transaction. Id.; see also In re

19 Indus. Valley Refrigeration & Air Conditioning Supplies, Inc., 77 B.R. 15, 17 (Bankr. E.D. Pa.

20 1987).

21          The Agreement was negotiated in good faith and at arms’ length between the Trustee and

22 Debtor. See Marshack Decl., ¶19. The parties negotiated through several counteroffers in an effort to

23 maximize the benefit to the Estate and unsecured creditors while minimizing expense to the Estate

24 and Mr. Ortiz. Id. The Trustee has no relationship with Mr. Ortiz outside of this bankruptcy case,

25 there was no fraud or collusion present during negotiations, and Mr. Ortiz did not receive special

26 treatment or consideration. Id., ¶20.

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 1          Accordingly, because there is sound business judgment behind the Agreement, there has been

 2 accurate and reasonable notice, the price is adequate, and the Agreement has been entered into in

 3 good faith, there is legal authority for this Court to approve the Agreement and authorize the Trustee

 4 to enter into the Agreement to sell the Estate’s interest in the Property.

 5 4.       Approval of Compromise Legal Authority
 6          The court has authority to decide whether to approve a settlement entered into by a

 7 bankruptcy Trustee. Notice must be given to all creditors, the United States Trustee, the debtor, and

 8 indenture trustees as provided in FRBP 2002, and to any other entity as the court may direct. See

 9 FRBP 9019(a).

10          It is well established that a compromise should be approved if it is “in the best interest of the

11 estate . . . and is fair and equitable for creditors.” Schmitt v. Ulrich (In re Schmitt), 215 B.R. 417, 424

12 (B.A.P. 9th Cir. 1997); ATKN Company v. Guy F. Atkinson Company of California (In re Guy F.

13 Atkinson Company), 242 B.R. 497, 502 (B.A.P. 9th Cir. 1999) (“At its base, the approval of a

14 settlement turns on the question of whether the compromise is in the best interest of the estate.”).

15 The standards to be applied to the approval of the settlement include: (1) The probability of success

16 of the litigation on its merits; (2) The difficulties in collection on a judgment; (3) The complexity of

17 the litigation involved; and (4) The expense, inconvenience or delay occasioned by the litigations,

18 and the interest of creditors. In re A&C Properties, 784 F.2d 1377, 1380-81 (9th Cir. 1986), cert.,

19 den., Martin v. Robinson, 479 U.S. 854, 107 S.Ct. 189 (1989).

20          Although the court is to consider the range of results in the litigation, “the court’s assessment

21 does not require resolution of the issues, but only their identification, so that the reasonableness of

22 the settlement may be evaluated.” In re Hermitage Inn, Inc., 66 B.R. 71, 72 (Bankr. D. Colo. 1986).

23 Moreover, it is not the bankruptcy court’s responsibility to decide the numerous questions of law and

24 fact with respect to the merits of the litigation, but rather to “canvass” the issues and see whether the

25 settlement falls below the lowest range of reasonableness. In re Heissinger Resources, Ltd., 67 B.R.

26 378, 383 (C.D. Ill. 1986).

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 1          A. Analysis Under the A&C Factors
 2          Currently, there is a dispute between Debtor and Trustee as to the extent of the Estate’s

 3 interest in the Property.

 4          It is the Estate’s position is that because the (a) Property is co-owned by Debtor and Mr.

 5 Ortiz, (b) partition in kind of the Property among the co-owners is impracticable; (b) sale of the

 6 Estate’s interest would realize significantly less for the Estate than a sale of the Property free and

 7 clear of the interests of Mr. Ortiz and any other alleged co-owner; and (c) the Property is not used

 8 in the production, transmission, or distribution, for sale, or electric energy or of natural or synthetic

 9 gas for heat, light, or power, that the Property may be sold – pursuant to 11 U.S.C. §363(h) - for

10 the benefit of Debtor’s creditors. Mr. Ortiz disputes the Estate’s position.

11          Specifically, it is Mr. Ortiz’s position that:

12          (a) he owned the property seven years prior to meeting Debtor;

13          (b) Debtor was added on title solely for refinance purposes in March 2017;

14          (c) At the time of the re-fi Debtor was given $20,000 to pay off her debts from the re-fi

15              funds;

16          (d) Debtor moved out in 2019; and

17          (e) Mr. Ortiz continued to pay the mortgage, property tax, insurance and upkeep.

18          Although, Trustee believes in the merits of the Estate’s position (i.e. the entirety of the

19 Property may be sold), there are risks in litigation as outlined above. Yet, under the Agreement, the

20 Trustee minimizes the fees and costs associated with liquidating the Property, continued

21 prosecution of the Complaint, avoids further accrual of interests on the Mortgage pending sale

22 efforts and avoids delay in the administration of the Estate. The Trustee simply cannot forecast

23 whether the Estate would be successful in any litigation with Mr. Ortiz. Thus, the probability of

24 success factor favors in approving the compromise embodied in the Agreement. Moreover, if the

25 Estate continues litigation, it will involve factual issues relating to the extent of Debtor’s interest in

26 the Property insofar as Debtor retaining a beneficial interest in the Property when she moved out in

27 2019. While collections on any judgment may not be moot - as any judgment will concern

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 1 declaratory relief as to either title to/classification of Property - the equity in the Property may

 2 erode should Mr. Ortiz stop making payments on the Mortgage. Moreover, there is no guarantee

 3 that after incurring the expenses, inconvenience and delay caused by litigation with Mr. Ortiz that

 4 the creditors would fare better than what is currently embodied in the Agreement.

 5          Indeed, the Trustee submits that the Compromise is in the best interest of the Estate and

 6 would save significant administrative expenses that would be incurred by (a) sale of the Property

 7 to a third party and (b) continued litigation with Mr. Ortiz. This factor favors in approving the

 8 compromise embodied in the Agreement. In sum, the Trustee believes that the Agreement is in the

 9 best interest of the Estate and should be approved by this Court.

10 5.       Waiver of the 14 Day Period for Effectiveness of Sale Order
11          Rule 6004(h) of the Federal Rules of Bankruptcy Procedure (“FRBP”) provides: “An order

12 authorizing the use, sale, or lease of property other than cash collateral is stayed until the expiration

13 of 14 days after entry of the order, unless the court orders otherwise.” FRBP 6004(h). The legislative

14 history provides:

15                  The court may, in its discretion, order that Rule 6004(g) [now 6004(h)]
                    is not applicable so that the property may be used, sold, or leased
16                  immediately in accordance with the order entered by the court.
                    Alternatively, the court may order that the stay under Rule 6004(g)
17                  [now 6004(h)] is for a fixed period less than 10 [now 14] days.

18          Given the notice and full opportunity to object and respond to this Motion, the Trustee

19 believes that, unless there are objections to the Motion that are not consensually resolved, it is

20 appropriate and good cause exists for the Court to order that 6004(h) is not applicable and the

21 Property may be sold immediately. Accordingly, the Trustee requests that the Court order that the

22 sale may be effectuated immediately upon entry of the Order approving this Motion and authorizing

23 the sale of the equity in the Property.

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                                              10
                           TRUSTEE’S MOTION TO APPROVE COMPROMISE
     4888-4845-1331-1015-143
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 1 6.       Conclusion
 2          For all the foregoing reasons, Trustee requests that the Court enter an Order:

 3          1.      Granting the Motion;

 4          2.      Approving the Agreement attached as Exhibit 1;
 5          3.      Authorizing Trustee to do what is necessary to effectuate the Agreement to sell the

 6 Estate’s interest in the Property, including, but not limited to executing the Agreement;

 7          4.      The Compromise is approved pursuant to FRBP 9019; and

 8          5.      For such other and further relief as the Court deems just and proper.

 9 Dated: November 30, 2021                    MARSHACK HAYS LLP

10                                             By: /s/ Laila Masud
                                                   D. EDWARD HAYS
11                                                 LAILA MASUD
                                                   Attorneys for Chapter 7 Trustee,
12
                                                   RICHARD A. MARSHACK
13

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                           TRUSTEE’S MOTION TO APPROVE COMPROMISE
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 1                              Declaration of Richard A. Marshack
 2

 3         I, RICHARD A. MARSHACK, say and declare as follows:

 4         1.      I am an individual over 18 years of age and competent to make this Declaration. If

 5 called upon to do so, I could and would competently testify as to the facts set forth in this

 6 Declaration. The facts set forth below are true of my personal knowledge.

 7         2.      I am the Chapter 7 Trustee of the Bankruptcy Estate of Melissa Shores (“Debtor”). I

 8 have personal knowledge of the facts set forth herein, and if called upon to do so, could and would

 9 competently testify to those facts.

10         3.      I make this Declaration in support of my Motion for Order Approving Compromise

11 (“Motion”). All terms not defined herein are used as they are defined in the Motion.

12         4.      I have reviewed the court’s PACER docket and the files contained therein for this

13 case.

14         5.      A true and correct copy of the Agreement is attached hereto as Exhibit 1.
15         6.      On or about March 31, 2017, Debtor and Mr. Ortiz each acquired an undivided

16 interest in certain real property located at 9816 Bradwell Avenue, Santa Fe Springs, California

17 90670 (“Property”). Title to the Property is held in the name of Debtor and Mr. Ortiz as joint tenants

18 pursuant to a Grant Deed recorded on April 17, 2017, in the Los Angeles County Recorder's Office

19 as instrument no. 20170415708 (“Grant Deed”). A true and correct copy of the grant deed is

20 attached as Exhibit “2.”

21         7.      On February 17, 2021, Debtor filed a voluntary petition for relief under Chapter 7 of

22 Title 11 the United States Code, commencing Case No. 8:21-bk-10398-MW.

23         8.      As set forth in Debtor's Schedule C, she has claimed an exemption in the Property in

24 the amount of $15,000 pursuant to C.C.P. § 703.140(b)(5).

25         9.      As set forth in Debtor's Schedule D, the Property is subject to a deed of trust held by

26 Wells Fargo Home Mortgage securing a claim in the amount of $320,392.51. I am informed by my

27 agents that the last known balance as of June 2021 on the mortgage was $341,433.99 with daily

28 interest accruing at $40.6000 a day.

                                             12
                          TRUSTEE’S MOTION TO APPROVE COMPROMISE
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 1         10.     After consulting with my real estate agents, I believed that the Property was worth at

 2 least $575,000-$600,000.

 3         11.     Based on the above facts, I believed there may be equity in the Property that could be

 4 administrated for the benefit of unsecured creditors in the approximate amount of $57,000.

 5         12.     Accordingly, on June 9, 2021, I caused to be filed a Complaint against Mr. Ortiz and

 6 other interested parties for: (1) Sale of Co-Owned Real Property [11 U.S.C. § 363(H)]; and (2)

 7 Turnover of Real Property [11 U.S.C. § 542(a)] ("Complaint"). A copy of the Complaint is attached

 8 as Exhibit “3.”

 9         13.     On June 10, 2021, Mr. Ortiz along with other interested parties were served with the

10 Complaint.

11         14.     Subject to Court approval, Mr. Ortiz has offered to purchase the Estate’s interest in

12 the equity in the Property for a lump sum payment of $67,500 (“Purchase Price”), I am informed that

13 the source of the Purchase Price/Settlement Amount is a loan secured by the Property (i.e. potential

14 refinance). As such, this Agreement is contingent upon the loan funding the Settlement Amount to

15 me on behalf of the Estate for which an escrow will be opened. This Agreement shall have no effect

16 if the Settlement Amount is not paid to the Estate.

17         15.     The net proceeds of $67,500 are sufficient to pay all allowed administrative expenses

18 and to make a meaningful distribution to holders of general unsecured claims.

19         16.     The proposed sale of the Estate’s interest in the Property through the Agreement is a

20 sound business decision because it minimizes the fees and costs associated with liquidating the

21 Property, and will generate significant cash proceeds for the Estate.

22         17.     In my business judgment, based on the above, the proposed Agreement is in the best

23 interests of the Estate and will maximize the value of the equity in the Property for the benefit of

24 unsecured creditors.

25         18.     The Purchase Price is sufficient to make meaningful pro rata distributions to general

26 unsecured creditors and, at the same time, minimizes the fees and costs associated liquidation of the

27 Property.

28 / / /

                                             13
                          TRUSTEE’S MOTION TO APPROVE COMPROMISE
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 1          19.     The Agreement was negotiated in good faith and at arms’ length between myself, my

 2 counsel, and counsel for the Mr. Ortiz. Mr. Ortiz and I negotiated through several counteroffers,

 3 through our respective counsel, in an effort to maximize the benefit to the Estate and unsecured

 4 creditors while minimizing expense to the Estate and Mr. Ortiz.

 5          20.     I have no relationship with the Debtor nor Mr. Ortiz outside of this bankruptcy case,

 6 and. there was no fraud nor collusion present during negotiations. Further, Mr. Ortiz did not receive

 7 special treatment or consideration.

 8          21.     The proposed compromise will save significant administrative expenses that would be

 9 incurred by selling the Property to a third-party buyer.

10          22.     In evaluating the proposed compromise, my counsel and I have taken into account the

11 (1) probability of success of the litigation on its merits; (2) difficulties in collection on a judgment;

12 (3) complexity of the litigation involved; and (4) expense, inconvenience or delay occasioned by the

13 litigations, and the interest of creditors., as well as (5) interests of creditors of the Estate. I have

14 determined that under the Agreement, by minimizing the fees and costs associated with liquidating

15 the Property, avoiding further accrual of interests on the Mortgage pending sale efforts, avoiding

16 continued litigation of the Complaint – including a potential adverse judgment- and avoiding delay

17 in the administration of the Estate is in the best interest of creditors.

18          23.     I have evaluated the proposed compromise and in my business judgment and

19 experience as a Trustee, I believe that the Agreement is fair and reasonable and in the best interests

20 of the Estate and the creditors of the Debtor.

21

22          I declare under penalty of perjury that the foregoing is true and correct. Executed on

23 November ___, 2021.

24
                                                                _______
25                                                  RICHARD A. MARSHACK

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                            TRUSTEE’S MOTION TO APPROVE COMPROMISE
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 4     Irvine, California 92620
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 5     Facsimile: (949) 333-7778
 6     Attorneys for Chapter 7 Trustee,
       RICHARD A. MARSHACK
 7

 8                                   UNITED STATES BANKRUPTCY COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
10

11      In re                                                  Case No. 8:21-bk-10398-MW
12      MELISSA SHORES,                                        Chapter 7
13                     Debtor.                                 Adv. No. ___________
14                                                             COMPLAINT FOR:
        RICHARD A. MARSHACK, Chapter 7 Trustee,                 (1) SALE OF CO-OWNED REAL
15                                                                  PROPERTY [11 U.S.C. § 363(h)]; AND
                       Plaintiff,                               (2) TURNOVER OF REAL PROPERTY
16                                                                  [11 U.S.C. § 542(a)]
        v.
17                                                              [Status Conference to be set by Court]
18      JOE ORTIZ, an individual, ANNIE GARCIA, an
        individual, ISAAC ORTIZ, an individual,
19      ASHLEY ORTIZ, an individual, and JAMES
        JALASIO, an individual.
20
                       Defendants.
21

22
23              RICHARD A. MARSHACK, Chapter 7 Trustee (“Trustee” or “Plaintiff”) for the bankruptcy
24     estate (“Estate”) of Melissa Shores (“Debtor”), alleges as follows:
25     ///
26     ///
27     ///
28
                                         1
       COMPLAINT FOR SALE OF JOINTLY OWNED PROPERTY AND TURNOVER OF PROPERTY

                                                                                               Exhibit "3"
                                                                                                 Page 24
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                         Adversary Proceeding Cover Sheet Page 1 of 2
  B1040 (FORM 1040) (12/15)

          ADVERSARY PROCEEDING COVER SHEET                                                     ADVERSARY PROCEEDING NUMBER
                                                                                               (Court Use Only)
                  (Instructions on Reverse)

PLAINTIFFS                                                                      DEFENDANTS
                                                                                JOE ORTIZ, an individual, ANNIE GARCIA, an individual,
RICHARD A. MARSHACK, Chapter 7 Trustee,
                                                                                ISAAC ORTIZ, an individual, ASHLEY ORTIZ, an
                                                                                individual, and JAMES JALASIO, an individual.
ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (If Known)
MARSHACK HAYS, LLP - 870 Roosevelt, Irvine,
CA 92620; Tel. (949) 333-7777
PARTY (Check One Box Only)                         PARTY (Check One Box Only)
□ Debtor    □ U.S. Trustee/Bankruptcy Admin        □ Debtor      □ U.S. Trustee/Bankruptcy Admin
□ Creditor  □ Other                                □ Creditor    □X Other
□XTrustee                                          □ Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
COMPLAINT FOR: (1) SALE OF CO-OWNED REAL PROPERTY [11 U.S.C. §363(H)]; AND TURNOVER OF REAL
PROPERTY [11 U.S.C. §542(A)]


                                                                    NATURE OF SUIT

        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


□2 11-Recovery of money/property - §542 turnover of property                    □
    FRBP 7001(1) – Recovery of Money/Property                                   FRBP 7001(6) – Dischargeability (continued)

□ 12-Recovery of money/property - §547 preference                               □
                                                                                   61-Dischargeability - §523(a)(5), domestic support

□ 13-Recovery of money/property - §548 fraudulent transfer                      □
                                                                                   68-Dischargeability - §523(a)(6), willful and malicious injury

□ 14-Recovery of money/property - other                                         □
                                                                                   63-Dischargeability - §523(a)(8), student loan
                                                                                   64-Dischargeability - §523(a)(15), divorce or separation obligation

                                                                                □
                                                                                      (other than domestic support)

□ 21-Validity, priority or extent of lien or other interest in property
    FRBP 7001(2) – Validity, Priority or Extent of Lien                            65-Dischargeability - other


                                                                                □ 71-Injunctive relief – imposition of stay
                                                                                FRBP 7001(7) – Injunctive Relief

□
   FRBP 7001(3) – Approval of Sale of Property
 1 31-Approval of sale of property of estate and of a co-owner - §363(h)
                                                                                □ 72-Injunctive relief – other
□ 41-Objection / revocation of discharge - §727(c),(d),(e)
    FRBP 7001(4) – Objection/Revocation of Discharge
                                                                                □ 81-Subordination of claim or interest
                                                                                FRBP 7001(8) Subordination of Claim or Interest



□ 51-Revocation of confirmation
    FRBP 7001(5) – Revocation of Confirmation
                                                                                □ 91-Declaratory judgment
                                                                                FRBP 7001(9) Declaratory Judgment



□ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
    FRBP 7001(6) – Dischargeability
                                                                              □
                                                                              FRBP 7001(10) Determination of Removed Action

□ 62-Dischargeability - §523(a)(2), false pretenses, false representation,        01-Determination of removed claim or cause


□ 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny □ SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
      actual fraud                                                            Other


                   (continued next column)                                    □ 02-Other (e.g. other actions that would have been brought in state court
                                                                                        if unrelated to bankruptcy case)
□ Check if this case involves a substantive issue of state law                  □ Check if this is asserted to be a class action under FRCP 23
□ Check if a jury trial is demanded in complaint                                Demand $
Other Relief Sought



                                                                                                                                    Exhibit "3"
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                      Adversary Proceeding Cover Sheet Page 2 of 2
 B1040 (FORM 1040) (12/15)

               BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                                BANKRUPTCY CASE NO.
MELISSA SHORES                                8:21-bk-10398-MW
DISTRICT IN WHICH CASE IS PENDING                                     DIVISION OFFICE                   NAME OF JUDGE
CENTRAL DISTRICT                                                      SANTA ANA                         Hon. Mark S. Wallace
                                     RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                      DEFENDANT                                                ADVERSARY
                                                                                                        PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)




/s/ D. EDWARD HAYS

DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)

 06/09/2021                                                             D. EDWARD HAYS



                                                         INSTRUCTIONS

           The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.


                                                                                                                Exhibit "3"
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 1                                  Statement of Jurisdiction and Venue
 2            1.      This Court has jurisdiction over this adversary proceeding pursuant to

 3     28 U.S.C. §§ 157 and 1334 in that this action arises in and relates to the bankruptcy case pending in

 4     the United States Bankruptcy Court for the Central District of California, Santa Ana Division, entitled
 5     In re Melissa Shores, Bankruptcy Case Number 8:21-bk-10398-MW.

 6            2.      Plaintiff, as the Chapter 7 Trustee of the Debtor’s bankruptcy estate, has standing to

 7     bring this action pursuant to 11 U.S.C. § 323.

 8            3.      This adversary proceeding is a core proceeding under 28 U.S.C. § 157(b)(2)(A), (E),

 9     (M), (N), and (O). This Court has constitutional authority to enter a final judgment on these claims. To

10     the extent any claim for relief is determined not to be a core proceeding or is a Stern-claim, Plaintiff

11     consents to entry of final judgments and orders by the Bankruptcy Court.

12            4.      Venue properly lies in the Central District of California in that this adversary

13     proceeding arises in or is related to a case under Title 11 of the United State Code as provided in

14     28 U.S.C. §§ 1408 and 1409.

15                                                      Parties
16            5.      Plaintiff, Richard A. Marshack, brings this action in his capacity as the duly-appointed,

17     qualified, and acting Chapter 7 Trustee for Debtor’s bankruptcy estate under 11 U.S.C. § 702.

18            6.      Plaintiff alleges that at all relevant times Defendant, Joe Ortiz (“Mr. Ortiz” or

19     “Defendant”), is, and at all relevant times was, an individual residing in the County of Los Angeles,

20     State of California.

21            7.      Plaintiff alleges that at all relevant times Defendant, Annie Garcia (“Annie”), is, and at

22     all relevant times was, an individual residing in the County of Los Angeles, State of California.

23            8.      Plaintiff alleges that at all relevant times Defendant, Isaac Ortiz (“Isaac”), is, and at all

24     relevant times was, an individual residing in the County of Los Angeles, State of California.

25            9.      Plaintiff alleges that at all relevant times Defendant, Ashley Ortiz (“Ashley”), is, and at

26     all relevant times was, an individual residing in the County of Los Angeles, State of California.

27            10.     Plaintiff alleges that at all relevant times Defendant, James Jalasio (“James”), is, and at

28     all relevant times was, an individual residing in the County of Los Angeles, State of California.

                                                            2
                COMPLAINT FOR SALE OF JOINTLY OWNED PROPERTY AND TURNOVER OF PROPERTY

                                                                                                    Exhibit "3"
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 1                                                General Allegations
 2            11.      On February 17, 2021, Melissa Shores filed a voluntary petition for relief under

 3     Chapter 7 of Title 11 the United States Code, commencing Case No. 8:21-bk-10398-MW.

 4            12.      On or about March 31, 2017, Debtor and Mr. Ortiz each acquired an undivided interest
 5     in certain real property located at 9816 Bradwell Avenue, Santa Fe Springs, California 90670

 6     (“Property”).

 7            13.      Plaintiff alleges that title to the Property is held by Debtor and Mr. Ortiz as Tenants-in-

 8     Common.

 9            14.      Plaintiff alleges that the Property is worth at least $575,000-$600,000.

10            15.      As set forth in Debtor’s Schedule C, she claimed an exemption in the Property in the

11     amount of $15,000 pursuant to C.C.P. § 703.140(b)(5).

12            16.      As set forth in Debtor’s Schedule D, the Property is subject to a deed of trust held by

13     Wells Fargo Home Mortgage securing a claim in the amount of $320,392.51.

14                                               First Claim for Relief
15                                               Sale of Co-Owned Property

16                                                  [11 U.S.C. §363(h)]

17            17.      Plaintiff incorporates by reference Paragraphs 1 through 16 and realleges these

18     paragraphs as though set forth in full.

19            18.      Some or all of the Property constitutes property of the Estate.
20            19.      Plaintiff alleges that Mr. Ortiz also appears on title to the Property as a co-owner.

21            20.      Plaintiff alleges that the he is entitled to compel the sale of the Property in that:

22                     a.      Partition in kind of the Property among the co-owners is impracticable;

23                     b.      Sale of the Bankruptcy Estate’s interest would realize significantly less for the
24                             Estate than a sale of the Property free and clear of the interests of Mr. Ortiz and

25                             any other alleged co-owner;

26                     c.      The Property is not used in the production, transmission, or distribution, for

27                             sale, or electric energy or of natural or synthetic gas for heat, light, or power.

28

                                                             3
                COMPLAINT FOR SALE OF JOINTLY OWNED PROPERTY AND TURNOVER OF PROPERTY

                                                                                                    Exhibit "3"
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 1             21.    The Trustee is entitled to sell the Property outside the ordinary course of business for
 2     the benefit of the Estate.

 3                                           Second Claim for Relief
 4                                        Turnover of Property of the Estate
 5                                                 [11 U.S.C. § 542(a)]

 6             22.    Plaintiff incorporates by reference Paragraphs 1 through 16 and realleges these
 7     paragraphs as though set forth in full.

 8             23.    During a bankruptcy case, any person in possession, custody, or control of property that

 9     a trustee may use, sell, or lease is required to deliver such property to the trustee and account for such

10     property or the value of such property pursuant to 11 U.S.C. § 542(a).

11             24.    In order for Trustee to be able to sell the Property, or the Estate’s interest in the

12     Property, he must be able to provide a buyer with possession.

13             25.    Trustee is entitled to judgment compelling all occupants, including Defendants, to

14     turnover possession of the Property so that he may administer it.
15                                                      Prayer
16             WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

17                                               First Claim for Relief
18             1.     For entry of judgment granting Trustee authorization to sell the entire Property

19     including the interests of any co-owners, and to execute all documents necessary to effectuate such a

20     sale;

21             2.     For judgment authorizing Trustee to distribute to the proceeds of sale to pay all costs

22     and expenses, not including any compensation of the trustee, according to the interests of the Estate

23     and any co-owners; and

24                                           Second Claim for Relief
25             3.     For entry of judgment compelling all Defendants to turn over possession of the

26     Property to the Trustee; and

27             4.     For entry of judgment authorizing Trustee to take possession of the Property and

28     dispose of all personal property left on the premises;

                                                            4
                COMPLAINT FOR SALE OF JOINTLY OWNED PROPERTY AND TURNOVER OF PROPERTY

                                                                                                   Exhibit "3"
                                                                                                     Page 29
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1             5.      For judgment authorizing the United States Marshal Service to use all reasonable force
2      necessary to remove all occupants should they not timely vacate the Property;

3                                           For All Claims for Relief
4             6.      For costs of suit incurred, including attorneys’ fees as provided by applicable case law,
5      statute, or agreement of the parties; and

6             7.      For such other and further relief as the Court deems just and proper.
7

8       Dated: June 9, 2021                           MARSHACK HAYS LLP
9                                                             /s/ D. Edward Hays
                                                       By:______________________________
10                                                         D. EDWARD HAYS
                                                           LAILA MASUD
11                                                         Attorneys for Chapter 7 Trustee,
                                                           RICHARD A. MARSHACK
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                                                          5
                COMPLAINT FOR SALE OF JOINTLY OWNED PROPERTY AND TURNOVER OF PROPERTY

                                                                                                Exhibit "3"
                                                                                                  Page 30
        Case 8:21-bk-10398-MW                      Doc 29 Filed 11/30/21 Entered 11/30/21 19:07:07                                      Desc
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620

A true and correct copy of the foregoing document entitled: TRUSTEE’S MOTION TO APPROVE COMPROMISE;
MEMORANDUM OF POINTS AND AUTHORITIES; AND DECLARATION OF RICHARD A. MARSHACK IN SUPPORT
THEREOF will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
November 30, 2021, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On November 30, 2021, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

 DEBTOR
 MELISSA SHORES
 1930 SAINT JOHN ROAD, UNIT 29G
 SEAL BEACH, CA 90740

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL: Pursuant to
F.R.Civ.P. 5 and/or controlling LBR, on November 30, 2021, I served the following persons and/or entities by personal
delivery, overnight mail service, or (for those who consented in writing to such service method), by facsimile transmission
and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
judge will be completed no later than 24 hours after the document is filed.

VIA PERSONAL DELIVERY:
PRESIDING JUDGE’S COPY
HONORABLE MARK S. WALLACE
UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
RONALD REAGAN FEDERAL BUILDING AND COURTHOUSE
411 WEST FOURTH STREET, SUITE 6135 / COURTROOM 6C
SANTA ANA, CA 92701-4593

VIA EMAIL:
COUNSEL FOR DEFENDANT JOE R ORTIZ, BARRY BOROWITZ, BEB@BLCLAW.COM

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 November 30, 2021                        Cynthia Bastida                                        /s/ Cynthia Bastida
 Date                                     Printed Name                                           Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): CONTINUED:
     ATTORNEY FOR TRUSTEE RICHARD A MARSHACK (TR): D Edward Hays ehays@marshackhays.com,
        ehays@ecf.courtdrive.com; kfrederick@ecf.courtdrive.com; cmendoza@marshackhays.com;
        cmendoza@ecf.courtdrive.com
     TRUSTEE RICHARD A MARSHACK (TR): Richard A Marshack (TR) pkraus@marshackhays.com,
        rmarshack@iq7technology.com; ecf.alert+Marshack@titlexi.com
     ATTORNEY FOR TRUSTEE RICHARD A MARSHACK (TR): Laila Masud lmasud@marshackhays.com,
        lmasud@ecf.courtdrive.com; kfrederick@ecf.courtdrive.com
     ATTORNEY FOR DEBTOR MELISSA SHORES: Thomas J Polis tom@polis-law.com, paralegal@polis-law.com;
        r59042@notify.bestcase.com
     INTERESTED PARTY COURTESY NEF: Valerie Smith claims@recoverycorp.com
     U.S. TRUSTEE (SA): United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov

2. SERVED BY UNITED STATES MAIL: CONTINUED:
 SECURED CREDITOR               INTERESTED PARTY                                                        INTERESTED PARTY
 WELLS FARGO HOME MORTGAGE JOE R. ORTIZ                                                                 ANNIE GARCIA
 ATTN: OFFICER, A MANAGING OR   9816 BRADWELL AVENUE                                                    9816 BRADWELL AVENUE
 GENERAL AGENT, OR TO ANY       SANTA FE SPRINGS, CA 90670                                              SANTA FE SPRINGS, CA 90670
 OTHER AGENT AUTHORIZED BY
 APPOINTMENT OR LAW TO
 RECEIVE SERVICE
 PO BOX 10335
 DES MOINES, IA 50306

 INTERESTED PARTY                                   INTERESTED PARTY                                    INTERESTED PARTY
 ISAAC ORTIZ                                        ASHLEY ORTIZ                                        JAMES JALASIO
 9816 BRADWELL AVENUE                               9816 BRADWELL AVENUE                                9816 BRADWELL AVENUE
 SANTA FE SPRINGS, CA 90670                         SANTA FE SPRINGS, CA 90670                          SANTA FE SPRINGS, CA 90670




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
